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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

WEST VIRGINIA INDUSTRIAL PARKS
SALES AND MANAGEMENT CORPORATION,

        Plaintiff,

v.                                                          Civil Action No. 3:24-cv-00217

ERIE INSURANCE PROPERTY &
CASUALTY COMPANY,

        Defendant.

                                          COMPLAINT

        NOW COMES Plaintiff West Virginia Industrial Parks Sales and Management

Corporation, through undersigned counsel, and hereby files this Complaint for breach of first

party insurance contract, common law bad faith, violations of the West Virginia Unfair Claims

Practice Act, West Virginia Code § 33-11-1, et seq. and for a declaration, pursuant to the

Declaratory Judgment Act, 28 U.S.C. § 2201 and West Virginia’s Uniform Declaratory

Judgements Act, West Virginia Code § 55-13-1, et seq., that the insurance policy between

Plaintiff and Defendant Erie Insurance Property and Casualty Company (hereinafter referred to

as “Erie”) provides insurance coverage for certain property damage sustained by the Plaintiff as

the result of windstorm damage to the Plaintiff’s property. In support thereof, Plaintiff state as

follows:

        1.       Plaintiff West Virginia Industrial Parks Sales and Management Corporation is a

West Virginia corporation with its principal place of business in Huntington, Cabell County,

West Virginia.

        2.       Erie is a Pennsylvania corporation with its principal place of business in Erie,

Pennsylvania, and issued an insurance policy to the Plaintiff in Huntington, WV providing

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insurance coverage for certain damages sustained by the Plaintiff in a windstorm on or about

April 8, 2023.

       3.        This Court has subject matter jurisdiction over this action, in accordance with 28

U.S.C. § 1332, because the amount in controversy exceeds Seventy-Five Thousand Dollars

($75,000.00) and the parties are citizens of different states.

       4.        The Court has personal jurisdiction over Defendant Erie because at all relevant

times it has engaged in substantial business activities in Cabell County, West Virginia.

Defendant Erie is not a citizen of West Virginia; however, it has, at all relevant times, transacted,

solicited, and conducted business in Cabell County, West Virginia through its employees, agents,

and/or sales representatives, and derived substantial revenue from such business in West

Virginia. The insurance policy naming the Plaintiff as insured was issued in Huntington, West

Virginia to the Plaintiff by the Defendant.

       5.        Venue is proper in this district pursuant to 28 U.S.C. §1391(b)(2) because a

substantial part of the events giving rise to the claim occurred in this judicial district including

but not limited to the purchase of the insurance policy, breach of the insurance policy, bad faith

conduct of Erie and Unfair Trade Practices of Erie as set forth hereinafter. Plaintiff further

asserts that under 28 U.S.C.§ 1391(d) Erie is a resident of this judicial district.

       6.        Prior to April 8, 2023, Plaintiff purchased an Erie insurance policy in Huntington

West Virginia through United Security Agency located at 103 Eighth Avenue in Huntington,

West Virginia, 25701 and was insured through Erie insurance policy, Q37 8050074 W, issued by

Defendant Erie in Cabell County, West Virginia, with effective dates of January 30, 2023, to

January 30, 2024.




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       7.      As part of this insurance policy, Plaintiff also purchased and received the

Ultraflex Commercial Policy which contains coverage for property coverage for physical

loss/damage to Buildings due to a wind/storm.

       8.      Section I of the Erie insurance policy entitled - Coverages provides “[w]e will pay

for direct physical ‘loss’ of or damage to covered property at the premises described in the

‘Declarations’ caused by or resulting from a peril insured against.”

       9.      Section 1 A of the insurance policy provides BUILDING(S) – COVERAGE 1 A.

Covered Property Building(s) means buildings described in the “Declarations” and anything

permanently attached.

       10.     The Building insured under the insurance policy was described in the

Declarations and renewals thereof.

       11.     Pursuant to the terms of the insurance policy, Erie was obligated to pay for the

cost to properly repair the damaged roof in excess of the Plaintiff’s deductible.

       12.      This policy hereby is incorporated in full by reference as if each and every policy

term, addendum and endorsement is plead in full and further provides in pertinent part that:

               SECTION II - PERILS INSURED AGAINST

               BUILDING(S) - COVERAGE 1

               BUSINESS PERSONAL PROPERTY AND PERSONAL
               PROPERTY OF OTHERS –
               COVERAGE 2

               ADDITIONAL INCOME PROTECTION - COVERAGE 3

               Covered Cause of Loss

               This policy insures against direct physical “loss”, except “loss” as
               excluded or limited in this policy.




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        13.    On or about late March 2023, as reported by the weather service, there were

severe windstorms at and around the insured building with winds reaching up to and over 60

miles per hour.    In pertinent part, these wind/storms damaged the rubber roof, underlying

insulation board and caused physical damage and separation of the roof from its support

structure.

        14.    The damaged roof immediately was noticed and reported by an employee of

Lockheed Martin, the building tenant.

        15.    Plaintiff, through its insurance agent in Huntington, West Virginia, promptly

reported the wind/storm damage to Erie with a reported date of loss of April 8, 2023 and Erie

conducted a review of the Plaintiff’s reported insurance claim.

        16.    Thereafter, Erie’s Property Adjuster II requested, Solid Ground Engineering and

Inspections (“Solid Ground”) to perform a May 30, 2023, inspection to assess the damages to the

roof of the property after the wind/storm. This inspection was of readily observable surfaces and

did not include destructive testing. Erie obtained this inspection report on June 13, 2023 and

used it as a basis to deny the Plaintiff’s insurance claim, even though the inspection report

recognized and advised Erie of the extremely high winds and storms and damage to the building

roof. The inspection report improperly concluded the roof damage, after the high winds and

storm, were age-related.

        17.    On June 21, 2023, the Plaintiff submitted a rebuttal report from Tudor Roofing

Company, Inc. (“Tudor Roofing”), a Huntington roofing company that previously had done work

on the subject roof and thereafter inspected the roof. Tudor Roofing’s report indicated as

follows:




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               1) Right side of flat roof was coated and completed October, 2022
               and roof insulation was lying flat on roof deck. There was no
               evidence of insulation out of position.

               2) High winds occurred as stated on the wind verification report
               shown on page 4. The dates: March 3, 2023 57 mph wind... March
               25, 2023 66 mph wind... April 1, 2023 58 mph wind.

               3) These documented wind speeds are strong enough to cause wind
               uplift between roof deck and attached roof insulation.

               4) Roofing manufacturers will not guarantee roofs when speeds
               exceed 55 mph

               5) We do not agree with Item #3 on page 7. Please see our
               comment above: there was no damage to roof system on October
               2022.
               6) We disagree with item #5 on page 7 -Professional Opinions and
               Conclusions Statement.... Wind uplift is the only way this could
               have occurred.

This report was ignored by the Defendant and the information contained therein was not properly

or timely considered or investigated by Erie.

       18.     Plaintiff obtained and provided to Erie a damage estimate from Tudor Roofing,

which had worked on and installed the roofing sealant in 2022. This report sets forth that the

roof was damaged by the wind/storm in or about late March 2023 and sets forth how the roof

was damaged. Erie refused to pay for the estimated amount of the damage caused by the

wind/storm.

       19.     Instead of properly paying the insurance claim or considering the rebuttal report,

on or about June 23, 2023, the Defendant, through its employee/adjuster, issued its claim denial

in a letter sent to the Plaintiff. In the claims denial, Erie’s Property Adjuster II, without full and

proper explanation and despite Tudor Roofing’s rebuttal report, refused to pay for the roof

damage. In order to deny this part of the claim, Erie’s Property Adjuster II falsely stated in

misleading language that the damage to the roof was not related to the wind/storm claim and

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there was no coverage for the damage. Erie’s Property Adjuster II also (a) ignored and did not

properly consider the part of the report that documented high winds and roof damage to the

Plaintiff’s building; (b) denied the claim as the damage being age related even though the rubber

roof was not old; (c) refused to review and investigate the explained causes of the wind damage;

and (d) misrepresented the terms and applicability of coverages and exclusions in the insurance

policy.

          20.   Erie issued this claim denial, even though Plaintiff requested full and proper

payment of roof damage as covered by the insurance policy and provided evidence in support of

the claim. Plaintiff even provided Defendant with evidence of roof damage, documentation of

extremely high winds at the time in question and estimates of roof damage. Plaintiff also

provided Defendant with an eyewitness statement that the roof was not damaged prior to the

storm and that the damage caused to the roof was from the recent wind/storm. Despite this

evidence, Defendant Erie willfully, wrongfully and in bad faith denied Plaintiff’s claim.

          21.   Erie ignored and did not properly investigate clear information which supported

the wind/storm claim and related roof damage and wrongfully denied these aspects of the claim

again and otherwise failed to provide coverage or benefits as required under the Erie policy.

            COUNT I - BREACH OF FIRST PARTY INSURANCE CONTRACT
          AGAINST ERIE INSURANCE PROPERTY AND CASUALTY COMPANY

          22.   Plaintiff incorporates all of the previous paragraphs of this Complaint, as if fully

set forth herein, which substantiate Plaintiff’s claims for relief.

          23.   Plaintiff and Defendant entered into an insurance contract.

          24.   Plaintiff purchased, and was insured, through a purchased insurance policy

including but not limited to insurance policy Q37 8050074 W issued by Defendant Erie with

effective dates on or about January 30, 2023, to January 30, 2024, together with its stated

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coverage parts, endorsements, declarations, renewals all of which will be referred to in this

complaint as the “Insurance Policy.”

        25.    On or shortly before April 8, 2023, a wind/storm damaged the roof at Plaintiff’s

building located at 50 Bridgeport Hill Road in Clarksburg, Harrison County, West Virginia

(26301).

        26.    The damage was immediately noticed by a tenant of the building and reported.

        27.    Damages from the wind/storm included, but are not limited to, damage to the

rubber roof, insulation board, support structure and structural separation.

        28.    The terms and conditions of the Insurance policy obligate Erie to pay for the roof

damage.

        29.    Defendant has wrongfully failed and refused to pay for the wind/storm damage to

the roof of Plaintiff’s building as required by the terms and conditions of the Insurance Policy

and therefore has breached the policy of insurance coverage.

        30.    The failure to pay for the damage to the roof, as required by the Insurance Policy,

constitutes a breach of contract by Defendant Erie which has proximately caused harm to

Plaintiff.

        31.    Defendant Erie’s refusal to pay the Plaintiff for the repair of the damaged roof

based upon the misrepresentations and policy language set forth in the June 23, 2023, denial

letter sent to the Plaintiff by Erie constitutes a breach of the terms of the Erie insurance policy.

        32.    Defendant failed to provide the insurance coverage, benefits and rights as set forth

in the Insurance Policy. This conduct by Defendant constitutes breach of the first party insurance

contract between the parties.




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       33.      As a direct and proximate cause result of Defendant’s breach of the Insurance

Policy, Plaintiff incurred damages and seeks coverage under the insurance policy, reasonable

attorney fees and costs, consequential damages, payment for Plaintiff’s insurance claims,

prejudgment and post judgment interest, damages for breach of contract and all damages

recoverable under West Virginia law.

                          COUNT II - COMMON LAW BAD FAITH

       34.      Plaintiff incorporates all the previous paragraphs of this Complaint, as if fully set

forth herein, which substantiate Plaintiff’s claims for relief.

       35.      Defendant Erie owed a duty of good faith and fair dealing to their insured West

Virginia Industrial Parks Sales and Management Corporation to assure that the insured received

the full and proper benefits of the Insurance Policy.

       36.      On June 23, 2023, Defendant sent a formal denial of coverage denying coverage

for the roof damage to Plaintiff’s roof.

       37.      The June 23, 2023, denial letter wrongfully and in bad faith denied the Plaintiff’s

claim for covered damages, which were specifically covered under the Insurance Policy issued

by Defendant.

       38.      Defendant failed to act with good faith and fair dealing in issuing the denial letter

and in denying the Plaintiff’s claim for insurance coverage and benefits. The denial letter was

made in bad faith, without a reasonable justification for denial of coverage, and was done

willfully, wantonly, and with malice.

       39.      The conduct of Defendant, in denying the Plaintiff’s rightful insurance coverage

and benefits under the Insurance Policy as set forth in the denial letter dated June 23, 2023,




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breached the terms and conditions of the Insurance Policy also constitutes the tort of common

law bad faith under the laws of West Virginia.

       40.     Defendant wrongfully and maliciously refused to provide insurance coverage to

Plaintiff under the Insurance Policy and breached the duty of good faith and fair dealing and

acted with bad faith and malice in its refusal to properly and reasonably process, investigate and

pay the insurance claims of Plaintiff.

       41.       Defendant misrepresented and concealed the nature and extent of the subject

insurance coverage and provided false, misleading and deceptive information and representations

in its claim denial letter, coverage denial and communications with Plaintiff with regard to the

property damage claim submitted by Plaintiff under the Insurance Policy.

       42.     Erie failed to conduct an adequate thorough investigation to determine the

applicable policy benefits due and owing; refused to pay applicable policy benefits without a

valid factual or legal basis to support such denial; and favored its own interests in denying

payment over the interests of its insured, the Plaintiff.

       43.     From its initial notification of the claim, Erie has acted willfully, intentionally and

maliciously, predetermined to delay and deny payment of all applicable benefits due and owing

the Plaintiff. Erie denied the wind/storm damage even though it had actual knowledge there

were severe winds occurring that likely would cause roof damage and that did cause damage in

surrounding areas; had actual knowledge that the storm constituted a covered loss; and actual

knowledge the Plaintiff’s roof did sustain wind and structural damage.

       44.     Plaintiff sustained damages as a direct and proximate cause of Defendant’s bad

faith conduct and is entitled to extra contractual damages, punitive damages, payment for




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Plaintiffs insurance claims, reasonable attorneys’ fees and costs, damages for aggravation,

annoyance and inconvenience as well as for damages under the Insurance Policy.

                            COUNT III - DECLARATORY RELIEF

        45.     Plaintiff incorporates the above paragraphs of this Complaint, as if fully set forth

herein, which substantiate Plaintiff’s claims for relief.

        46.     The Declaratory Judgment Act (“DJA”), 28 U.S.C. § 2201(a), provides that in “a

case of actual controversy within its jurisdiction . . . any court of the United States . . . may

declare the rights and other legal relations of any interested party seeking such declaration,

whether or not further relief is or could be sought.” 28 U.S.C. § 2201(a). Additionally, the DJA

provides for “[f]urther necessary or proper relief” following a favorable decision in a declaratory

judgment.

        47.     Consequently, Plaintiff is entitled to a declaration, pursuant to 28 U.S.C. §2201,

that the subject Erie policy provides insurance coverage to Plaintiff for the windstorm claim

related damage to the roof as covered by the Insurance Policy.

        48.     Likewise, West Virginia’s Uniform Declaratory Judgments Act, West Virginia

Code § 55-13-1, et seq., provides that “[a]ny person interested under a . . . written contract, or

other writings constituting a contract . . . may have determined any question of construction or

validity arising under the . . . contract . . . and obtain a declaration of rights, status or other legal

relations thereunder.” A justiciable controversy, such as the aforementioned insurance coverage

dispute, exists for purposes of a declaratory judgment action when a legal right is claimed by one

party and denied by another. See West Virginia Utility Contractors Ass’n v. Laidley Field

Athletic and Recreational Center Governing Bd., 164 W.Va. 127, 260 S.E.2d 847 (1979); See

also Trail v. Hawley, 163 W.Va. 626, 259 S.E.2d 423 (1979); See Robertson v. Hatcher, 148



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W.Va. 239, 135 S.E.2d 675 (1964) (Actual controversy susceptible of judicial determination

exists when legal right is claimed by one party and denied by another party to declaratory

judgment proceeding.); See also Board of Ed. of Wyoming County v. Board of Public Works, 144

W.Va. 593, 109 S.E.2d 552 (1959).

        49.       Consequently, Plaintiff is entitled to a declaration, pursuant to West Virginia

Code §55-13-1 and 28 U.S.C. §2201, that (1) the subject Erie policy provides insurance coverage

to Plaintiff for the wind/storm claim related damage to the roof sustained by Plaintiff as covered

by the Insurance Policy; (2) Defendant wrongfully denied insurance coverage for this damage

sustained by Plaintiff; and (3) Plaintiff is entitled to payment from Defendant for damages under

the Insurance Policy.

              COUNT IV - VIOLATIONS OF UNFAIR TRADE PRACTICES ACT

        50.       Plaintiff incorporates the above paragraphs of this Complaint, as if fully set forth

herein, which substantiate Plaintiff’s claims for relief.

        51.       Defendant violated the West Virginia Unfair Trade Practices Act in its dealings

with Plaintiff.

        52.       Prior to April 8, 2023, Plaintiff purchased insurance coverage for its building

from Erie.

        53.       Erie and the Insurance Policy represented the coverage sold Plaintiff would cover

certain property damage of the insured property.

        54.       Defendant misrepresented the benefits, advantages, terms and conditions of the

Insurance Policy in its Claim Decision letters, Insurance Policy, coverage denials and

communications with Plaintiff.




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        55.    Defendant misrepresented and concealed the nature and extent of the subject

insurance coverage and provided false, misleading and deceptive information and representations

in its denial letter, coverage denial and communications with Plaintiff with regard to the property

damage claim submitted by Plaintiff under the Insurance Policy.

        56.    Upon information and belief, Erie has a pattern and practice of selling such

policies and making false and misleading representations and promises so as to indicate a general

business practice.

        57.    Erie violated the provisions of West Virginia Code §33-11-1, et seq., and did so

with such frequency as to indicate a general business practice in that it misrepresented and/or

concealed the pertinent factors or insurance policy provisions relating to the coverage issue.

        58.    Erie breached its duty of fair trade practices through its acts, omissions and

conduct of selling insurance policies, wrongful denials of such claims and misrepresenting the

coverage, benefits and advantages therein.

        59.    Erie failed to undertake prompt and reasonable efforts to evaluate, negotiate and

adjust Plaintiff’s claim for coverage benefits or, in the alternative, did evaluate said claim and

after said evaluation made a deliberate wrongful choice to deny coverage.

        60.    Erie failed to undertake an adequate investigation of Plaintiff’s claim or, in the

alternative, did undertake an adequate investigation which it then purposely ignored; failed to

undertake settlement negotiations in good faith; and as a result, forced Plaintiff to proceed with

litigation.

        61.    The acts and omissions of Erie, by and through its agents and representatives in

handling of Plaintiff’s claim violated West Virginia Code §33-11-1, et seq.




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        62.     The acts and omissions of Erie, by and through their agents and representatives, in

the handling of Plaintiff’s claim violated West Virginia Code §33-11-4(9) in the following

particulars: failing to acknowledge and act reasonably and promptly upon communications with

respect to the claim arising under Plaintiff’s insurance policy; failing to adopt and implement

reasonable standards for the prompt investigation of claims under insurance policies; refusing to

pay Plaintiff’s claim without conducting a reasonable investigation based upon all available

information; not attempting in good faith to effect prompt fair and equitable settlement of

Plaintiff’s claim even though liability was clear; compelling Plaintiff to file suit to recover

amounts payable under the policy; and failing to promptly provide a reasonable explanation for

the denial of Plaintiff’s claim.

        63.     The acts and omissions of Erie, by and through its agents and representatives, in

handling Plaintiff’s claim were committed and/or performed with such frequency as to indicate a

general business practice and constitutes unfair claims settlement practices.

        64.     The acts and omissions of Erie, by and through its agents and representatives, in

the handling of Plaintiff’s claim were intentional, willful, and outrageous in character and were

done in bad faith without regard to the rights of Plaintiff. Likewise, Erie acted with actual

malice toward Plaintiff or with a conscious, reckless and outrageous indifference to the health,

safety and welfare of others.

        65.     Erie further violated W. Va. Code Section 33-11-4(9) by (1) denying the claim of

the Plaintiff even though Erie had knowledge of the severe wind storms and that the Plaintiff’s

roof sustained damage; (2) misrepresenting and concealing pertinent facts concerning the

insurance claim including misrepresenting that the damage to the roof was not caused by the




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wind storm and (3) failing to provide a reasonable explanation of the basis in the insurance

policy in relation to the facts or applicable law for denial of the claim of the Plaintiff.

          66.   The acts and omissions of Erie, by and through its agents and representatives, are

so outrageous that Plaintiff is entitled to recover punitive damages from Erie in order to punish

Erie and to deter them and other insurance companies from engaging in similar conduct in the

future.

          67.   As a result of the intentional, willful and malicious Unfair Trade and Settlement

Practices of Erie, Plaintiff is entitled to recover compensatory and general damages as a result of

said conduct, and is entitled to punitive damages, reasonable attorney fees and costs.

          WHEREFORE, Plaintiff West Virginia Industrial Parks Sales and Management

Corporation requests damages for the claims and damages set forth in this Complaint and

including, but not limited to, all actual damages, consequential damages, reasonable attorney fees

and costs, punitive damages, payment in full of Plaintiff’s insurance claims, pre and post

judgment interest, as well as all damages under West Virginia statutory and common law

together with declaratory relief as follows:

          1.    Enter Judgment against Defendant for breach of insurance contract and to make a

determination that Plaintiff has substantially prevailed;

          2.    Enter a declaration that the damage to the roof on Plaintiff’s is covered by the

Insurance Policy issued by Defendant and was wrongfully denied by the Defendant;

          3.    Compensatory damages against Defendant Erie for breach of the insurance policy,

common law bad faith, violations of the Unfair Trade Practices Act;

          4.    An award of punitive damages against Erie and an award of the Plaintiff’s

attorney fees as well as prejudgment and post judgment interest;



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        5.      Plaintiff requests, in accordance with West Virginia Code § 55-13-10, that the

Court make an award for its equitable and just costs and/or reasonable attorney fees and for

“[f]urther necessary or proper relief” under 28 U.S.C. § 2202; and

        6.      Award such other and further relief as the law and the facts may show to be just

and proper, including, but not limited to, a jury trial.

        PLAINTIFF DEMANDS A TRIAL BY JURY.

Dated: April 26, 2024                           WEST VIRGINIA INDUSTRIAL PARKS
                                                SALES AND MANAGEMENT
                                                CORPORATION
                                                By Counsel,

                                                /s/ David R. Barney, Jr.
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